         Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 1 of 11 PageID: 13985




                          September 30, 2019

                          VIA ECF

                          Hon. Dennis M. Cavanaugh
                          Special Master
                          McElroy, Deutsch, Mulvaney & Carpenter LLP
                          1300 Mount Kemble Avenue
                          Morristown, NJ 07962-2075

                          Re: In re Valeant Pharmaceuticals International, Inc. Securities Litigation, Master
Richard Hernandez             File No. 15-cv-07658 (MAS) (LHG); In re Valeant Pharmaceuticals
Partner                       International, Inc. Third-Party Payor Litigation, No. 16-cv-03087 (MAS) (LHG)
T. 973-848-8615
F. 973-297-6615
rhernandez@mccarter.com   Dear Judge Cavanaugh:

                          We write on behalf of all parties in the Securities Actions (the “Securities Parties”)
                          and the Third-Party Payor Class Action (the “TPP Parties”) (collectively, the
McCarter & English, LLP   “Responding Parties”) in response to Judge Shipp’s September 10, 2019 order
Four Gateway Center       appointing you as Special Master in the above-referenced actions and directing the
100 Mulberry Street       parties to identify any pending disputes and issues (No. 15-cv-07658, ECF No. 484;
Newark, NJ 07102-4056
T. 973.622.4444           No. 16-cv-03087, ECF No. 147).
F. 973.624.7070
www.mccarter.com
                                 A. Pending Issues & Disputes – Securities Class Action

                          The following issues are pending in the Securities Class Action, In re Valeant
                          Pharmaceuticals International, Inc. Securities Litigation, No. 15-cv-07658, listed in
                          order of priority:
BOSTON
                              1. No schedule has been set by the Court in the Securities Actions. The
HARTFORD                         Securities Parties have proposed a Joint Discovery Plan to cover the
                                 Securities Class Action and Securities Opt-Out Litigations and request that
STAMFORD
                                 the proposed plan, attached herewith as Exhibit 1, be entered. The parties
                                 are, of course, available to answer any questions Your Honor may have
NEW YORK
                                 about this schedule.
NEWARK
                              2. On July 29, 2019, certain defendants in the Securities Class Action,1 moved
EAST BRUNSWICK                   to certify the Court’s order denying their motion to dismiss the First Amended
                                 Consolidated Complaint for immediate appeal (ECF No. 474). On August
PHILADELPHIA                     20, 2019, Plaintiffs opposed the motion (ECF No. 482), and on August 27,
                                 2019 the moving defendants submitted a reply in response (ECF No. 483).
WILMINGTON                       Plaintiffs and the VAC Defendants respectfully request that Your Honor issue
                                 a report and recommendation on this motion.
WASHINGTON, DC




                          1ValueAct Capital Management L.P.; VA Partners I, LLC; ValueAct Holdings, L.P.; ValueAct
                          Capital Master Fund, L.P.; ValueAct Co-Invest Master Fund, L.P; and Jeffrey Ubben (the
                          “VAC Defendants”).
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 2 of 11 PageID: 13986




            September 30, 2019
            Page 2




               3. On April 12, 2019, the Court issued a Letter Opinion & Order granting Class
                  Plaintiffs’ motion to compel non-party Philidor RX Services, LLC and related
                  Philidor network pharmacies and entities (the “Philidor Entities”) to produce
                  documents. ECF No. 441. Class Plaintiffs subsequently requested an order
                  compelling the Philidor Entities’ compliance with the Letter Opinion & Order.
                  See ECF Nos. 452-454. That motion was never ruled on but the Philidor
                  Entities have started producing documents. Although Class Plaintiffs do not
                  believe any action is required at this time, they may request additional
                  enforcement of the Letter Opinion & Order once they have had an
                  opportunity to review the Philidor Entities’ production.


                   B. Pending Issues & Disputes – Securities Opt-Out Litigations

            The parties in the Securities Opt-Out Litigations have conferred and identified the
            following pending issues and disputes, listed in order of priority:

               1. As indicated above, the Securities Parties request that the proposed Joint
                  Discovery Plan attached herewith as Exhibit 1, covering the Securities Class
                  Action and Securities Opt-Out Litigations, be entered.

               2. On September 24, 2019, the parties to Northwestern Mutual Life Insurance
                  Co., et al. v. Valeant Pharmaceuticals International, Inc., et al., No. 18-cv-
                  15286 submitted a Stipulation and Proposed Order regarding the
                  defendants’ answers to the complaint (ECF No. 54). The parties respectfully
                  request that the Proposed Order be entered.

               3. Stipulations and proposed confidentiality orders have been submitted in
                  Colonial First State Investments Limited, et al. v. Valeant Pharmaceuticals
                  International, Inc., et al. (No. 18-cv-00383, ECF No. 24); Ahuja, et al. v.
                  Valeant Pharmaceuticals International, Inc., et al. (No. 18-cv-00846, ECF
                  No. 22); and Prudential Ins. Co. of Am., et al. v. Valeant Pharmaceuticals
                  International, Inc., et al. (No. 18-cv-01223, ECF No. 35). The parties to
                  those actions respectfully request that these Proposed Orders be entered.

               4. Defendants’ Motion to Dismiss the Amended Complaint in Catalyst Dynamic
                  Alpha Fund et al. v. Valeant Pharmaceuticals International, Inc., et al., No.
                  18-cv-12673 (ECF No. 58) will be fully briefed on October 14, 2019. No
                  action is required at this time.

               5. Defendants believe that Judge Shipp’s recent decision in Northwestern
                  Mutual Life Ins. Co., et al. v. Valeant Pharmaceuticals International, Inc., et
                  al., No. 18-cv-15286 (ECF No. 52) requires dismissal of Counts I–III of
                  Plaintiffs’ Amended Complaint in Lord Abbett Investment Trust-Lord Abbett
                  Short Duration Income Fund, et al. v. Valeant Pharmaceuticals International,
                  Inc., et al., No. 17-cv-06365. If the parties are unable to reach agreement
                  after conferring, Defendants intend to file a motion to dismiss those claims
                  pursuant to Federal Rule of Civil Procedure 12(c). No action is required at
                  this time.
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 3 of 11 PageID: 13987




            September 30, 2019
            Page 3




               6. Defendants believe that Judge Shipp’s recent decisions in Northwestern
                  Mutual Life Ins. Co., et al. v. Valeant Pharmaceuticals International, Inc., et
                  al., No. 18-cv-15286 (ECF No. 52) and Aly v. Valeant Pharmaceuticals
                  International, Inc., et al., No. 18-cv-17393 (ECF No. 49) require dismissal of
                  Counts VI–VIII of Plaintiffs’ Complaint in Hound Partners Offshore Fund LP,
                  et al. v. Valeant Pharmaceuticals International, Inc. et al., No. 18-cv-08705.
                  If the parties are unable to reach agreement after conferring, Defendants
                  intend to file a motion to dismiss those claims pursuant to Federal Rule of
                  Civil Procedure 12(c). No action is required at this time.

               7. On September 27, 2019, the parties to The Boeing Company Employee
                  Retirement Plans Master Trust and the Boeing Company Employee Savings
                  Plans Master Trust v. Valeant Pharmaceuticals International, Inc., et al., No.
                  17-cv-07636 submitted a Stipulation and Proposed Order regarding
                  dismissal of certain claims (ECF No. 126). The parties respectfully request
                  that the Proposed Order be entered.


                   C. Pending Disputes – Third-Party Payor Class Action

            The TPP Parties have conferred and identified the following pending disputes:

               1. On September 24, 2019, Plaintiffs requested leave to file a single brief of no
                  more than 70 pages in opposition to Defendants’ Motions to Dismiss
                  Plaintiffs’ Amended Consolidated Class Action Complaint. On September
                  25, 2019, defendants Philidor Rx Services, LLC (“Philidor”), Andrew
                  Davenport, and Estate of Matthew Davenport opposed Plaintiffs’ request.
                  Plaintiffs, Philidor, Andrew Davenport, and Estate of Matthew Davenport
                  respectfully request that Your Honor issue a decision regarding Plaintiffs’
                  request.

               2. Defendants’ Motions to Dismiss Plaintiffs’ Amended Consolidated Class
                  Action Complaint (No. 16-cv-3087, ECF Nos. 144–146) will be fully briefed
                  on October 25, 2019. Defendants Philidor, Andrew Davenport, and Estate of
                  Matthew Davenport believe that no discovery or other matters require
                  scheduling until after Your Honor has issued a report and recommendation
                  on the pending motions and the time for responses to that report and
                  recommendation has run. The TPP Parties reserve the right to seek Your
                  Honor’s intervention regarding discovery and other pretrial issues that may
                  arise during the pendency of Defendants’ Motions to Dismiss. No action is
                  required at this time.


                   D. Confidentiality and Protective Orders

            Pursuant to Paragraph 15 of Judge Shipp’s September 10, 2019 Order (No. 15-cv-
            07658, ECF No. 484), enclosed herewith as Exhibits 2–8 are the Confidentiality
            Orders entered in In re Valeant Pharmaceuticals International, Inc. Securities
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 4 of 11 PageID: 13988




            September 30, 2019
            Page 4




            Litigation, No. 15-7658 (ECF Nos. 244, 429) and by certain parties to the Securities
            Actions on January 19, 2018 (No. 16-cv-05034, ECF No. 89; No. 16-cv-06127, ECF
            No. 85; No. 16-cv-06128 ECF No. 83; No. 16-cv-07212, ECF No. 82; No. 17-cv-
            07552, ECF No. 42; No. 16-cv-07321, ECF No. 74; No. 16-cv-07324, ECF No. 74;
            No. 16-cv-07328; ECF No. 74, No. 16-cv-07494, ECF No. 75; No. 16-cv-07496,
            ECF No. 75; No. 16-cv-07497, ECF No. 80; No. 17-cv-06513, ECF No. 48; No. 17-
            cv-07625, ECF No. 69; No. 17-cv-07636, ECF No. 71; No. 17-cv-06365, ECF No.
            70; No. 17-cv-12808, ECF No. 19; No. 17-cv-13488, ECF No. 19), February 21,
            2018 (No. 18-cv-00032, ECF No. 42), April 26, 2018 (No. 18-cv-00343, ECF No.
            39), February 5, 2019 (No. 17-cv-12088, ECF No. 67), and August 12, 2019 (No.
            18-cv-00089, ECF No. 53; No. 18-cv-00893, ECF No. 55; No. 18-cv-08595, ECF
            No. 79). The Securities Parties respectfully request that Your Honor consent to be
            bound by these Confidentiality Orders, as well as the stipulations and proposed
            orders referenced in point A.3 above.

                   E. Procedural Matters

            In addition to the pending issues and disputes referenced above, the Responding
            Parties respectfully request that Your Honor provide guidance regarding how
            motions are to be brought before Your Honor and filed with the Court in light of the
            Court’s administrative termination of the In re Valeant Pharmaceuticals International,
            Inc. Securities Litigation and In re Valeant Pharmaceuticals International, Inc. Third-
            Party Payor Litigation matters, as well as all associated cases that have been
            coordinated or consolidated with these matters. (No. 15-cv-07658, ECF No. 484;
            No. 16-cv-03087, ECF No. 147).


            We thank Your Honor for your attention to these matters.


            cc: All Counsel of Record (via ECF)

            Enclosures
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 5 of 11 PageID: 13989




             September 30, 2019
             Page 5




        SEEGER WEISS LLP                                  McCARTER & ENGLISH LLP

        /s/ Christopher A. Seeger                         /s/ Richard Hernandez
        Christopher A. Seeger                             Richard Hernandez
        David R. Buchanan                                 100 Mulberry Street
        55 Challenger Road, 6th Floor                     Newark, NJ 07102
        Ridgefield Park, NJ 07660                         Telephone: (973) 848-8615
        Telephone: (973) 639-9100                         Fax: (973) 297-6615
        Fax: (973) 639-9393
                                                          Local Counsel for Valeant Pharmaceuticals
        Local Counsel for Plaintiffs in Case No. 15-cv-   International, Inc., Robert L. Rosiello, Ari S.
        07658                                             Kellen, Ronald H. Farmer, Colleen Goggins,
                                                          Robert A. Ingram, Theo Melas-Kyriazi, Robert N.
        ROBBINS GELLER RUDMAN & DOWD                      Power, Norma Provencio, Katharine B.
        LLP                                               Stevenson, and Tanya Carro in Case Nos.
                                                          15-cv-07658, 18-cv- 08705
        Darren J. Robbins
        655 West Broadway, Suite 1900                     Local Counsel for Valeant Pharmaceuticals
        San Diego, CA 92101                               International, Inc., Robert L. Rosiello, Ari S.
        Telephone: (619) 231-1058                         Kellen, and Tanya Carro in Case Nos.
        Fax: (619) 231-7423                               16-cv-05034, 16-cv-06127, 16-cv-06128,
                                                          16-cv-07212, 17-cv-06513, 17-cv-07552,
        James E. Barz                                     17-cv-12088, 17-cv-12808, 17-cv-13488,
        Frank A. Richter                                  18-cv-00383, 18-cv-00846
        200 South Wacker Drive, 31st Floor
        Chicago, IL 60606                                 Local Counsel for Valeant Pharmaceuticals
        Telephone: (312) 674-4674                         International, Inc. in Case Nos. 16-cv-03087,
        Fax: (312) 674-4676                               16-cv-07321, 16-cv-07324, 16-cv-07328,
                                                          16-cv-07494, 16-cv-07496, 16-cv-07497,
        Robert J. Robbins                                 18-cv-00089, 18-cv-00893, 16-cv-03087
        Kathleen B. Douglas
        120 East Palmetto Park Road, Suite 500            Local Counsel for Valeant Pharmaceuticals
        Boca Raton, FL 33432                              International, Inc., Robert L. Rosiello,
        Telephone: (561) 750-3000                         and Tanya Carro in Case Nos. 17-cv-06365,
        Fax: (561) 750-3364                               17-cv-07625, 17-cv-07636, 18-cv-00032,
                                                          18-cv-08595, 18-cv-12673, 18-cv-15286
        Counsel for Plaintiffs in Case No. 15-cv-07658
                                                          Counsel for Valeant Pharmaceuticals
        CARELLA, BYRNE, CECCHI, OLSTEIN,                  International, Inc., Robert L. Rosiello, and Ari S.
        BRODY & AGNELLO, P.C.                             Kellen, and local counsel for Tanya Carro in
                                                          Case No. 18-cv-00343
        /s/ James E. Cecchi
        James E. Cecchi                                   SAUL EWING ARNSTEIN & LEHR LLP
        5 Becker Farm Road
        Roseland, NJ 07068                                /s/ Francis X. Riley III
        Telephone: (973) 994-1700                         Francis X. Riley III
        Fax: (973) 994-1744                               650 College Road East, Suite 4000
                                                          Princeton, NJ 08540
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 6 of 11 PageID: 13990




             September 30, 2019
             Page 6



        Local Counsel for Plaintiffs in Case Nos. 16-cv-   Telephone: (609) 452-3145
        03087, 16-cv-05034, 16-cv-06127, 16-cv-06128,      Fax: (609) 452-3122
        17-cv-06365, 16-cv-07212, 17-cv-07552,
        17-cv-12808, 17-cv-13488                           Local Counsel for Valeant Pharmaceuticals
                                                           International, Inc. in Case No. 18-cv-01223
        BERNSTEIN LITOWITZ BERGER &
        GROSSMANN LLP                                      SIMPSON THACHER & BARTLETT LLP

        Salvatore J. Graziano                              Paul C. Curnin (admitted pro hac vice)
        Jonathan D. Uslaner                                Craig S. Waldman (admitted pro hac vice)
        Richard D. Gluck                                   Dean McGee (admitted pro hac vice)
        2121 Avenue of the Stars, Suite 2575               425 Lexington Avenue
        Los Angeles, CA 90067                              New York, NY 10017
        Telephone: (310) 819-3472                          Telephone: (212) 455-2000
                                                           Fax: (212) 455-2502
        Counsel for Plaintiffs in Case Nos. 16-cv-05034,
        16-cv-06127, 16-cv-06128, 17-cv-06365, 16-cv-      Counsel for Valeant Pharmaceuticals
        07212, 17-cv-07552, 17-cv-12808, 17-cv-13488       International, Inc., Robert L. Rosiello, Ari S.
                                                           Kellen, Ronald H. Farmer, Colleen Goggins,
        BERNSTEIN LITOWITZ BERGER &                        Robert A. Ingram, Theo Melas-Kyriazi, Robert N.
        GROSSMANN LLP                                      Power, Norma Provencio, Katherine B.
                                                           Stevenson, and Jeffrey W. Ubben in Case Nos. 15-
        James A. Harrod (admitted pro hac vice)            cv-07658, 18-cv-0870, 16-cv-03087
        1251 Avenue of the Americas
        New York, NY 10020                                 Counsel for Valeant Pharmaceuticals
        Telephone: (212) 554-1400                          International, Inc., Robert L. Rosiello, and Ari S.
        Fax: (212) 554 -1444                               Kellen in Case Nos. 16-cv-05034, 16-cv-06127,
                                                           16-cv-06128, 16-cv-07212, 17-cv-06513,
        Counsel for Plaintiffs in Case No. 16-cv-03087     17-cv-07552, 17-cv-12088, 17-cv-12808,
                                                           17-cv-13488, 18-cv-00383, 18-cv-00846
        LOWENSTEIN SANDLER LLP
                                                           Counsel for Valeant Pharmaceuticals
        /s/ Lawrence M. Rolnick                            International, Inc. in Case Nos. 16-cv-03087,
        Lawrence M. Rolnick                                16-cv-07321, 16-cv-07324, 16-cv-07328,
        Marc B. Kramer                                     16-cv-07494, 16-cv-07496, 16-cv-07497,
        Zachary D. Rosenbaum                               18-cv-00089, 18-cv-00893, 18-cv-01223
        Thomas E. Redburn, Jr.
        Sheila A. Sadighi                                  Counsel for Valeant Pharmaceuticals
        Michael J. Hampson                                 International, Inc. and Robert L. Rosiello in Case
        One Lowenstein Drive                               Nos. 17-cv-06365, 17-cv-07625, 17-cv-07636,
        Roseland, NJ 07068                                 18-cv-00032, 18-cv-08595, 18-cv-12673, 18-cv-
        Telephone: (973) 597-2500                          15286
        Fax: (973) 597-2400
                                                           COOLEY LLP
        Counsel for Plaintiffs in Case Nos. 16-cv-07321,
        16-cv-07324, 16-cv-07328, 16-cv-07494,             William J Schwartz (admitted pro hac vice)
        16-cv-07496, 16-cv-07497,                          Sarah Lightdale (admitted pro hac vice)
        18-cv-00089, 18-cv-00893, 18-cv-01223              55 Hudson Yards
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 7 of 11 PageID: 13991




             September 30, 2019
             Page 7



                                                           New York, NY 10001
        KASOWITZ BENSON TORRES LLP                         Telephone: (212) 479-6000
                                                           Fax: (212) 479-6275
        /s/ Stephen W. Tountas
        Stephen W. Tountas                                 Counsel for Tanya Carro in Case Nos.
        One Gateway Center                                 15-cv-07658, 16-cv-05034, 16-cv-06127,
        Suite 2600                                         16-cv-06128, 16-cv-07212, 17-cv-06365,
        Newark, NJ 07102                                   17-cv-07625, 17-cv-07636, 17-cv-06513,
        Telephone: (973) 645-9462                          17-cv-07552, 17-cv-12088, 17-cv-12808,
        Fax: (973) 643-2030                                17-cv-13488, 18-cv-00032, 18-cv-00343,
                                                           18-cv-00383, 18-cv-00846, 18-cv-08595, 18-cv-
        Local Counsel for Plaintiffs in Case Nos.          12673, 18-cv-15286
        17-cv-07636, 18-cv-08595, 18-cv-15286
                                                           DEBEVOISE & PLIMPTON LLP
        Counsel for Plaintiffs in Case Nos. 17-cv-07625
        and 18-cv-12673                                    /s/ Matthew Petrozziello
                                                           Matthew Petrozziello
        LABATON SUCHAROW LLP                               Bruce E. Yannett (admitted pro hac vice)
                                                           919 Third Avenue
        Serena P. Hallowell                                New York, NY 10022
        Jonathan Gardner                                   Telephone: (212) 909-6000
        Eric J. Belfi                                      Fax: (212) 909-6836
        Thomas W. Watson
        140 Broadway                                       Jonathan R. Tuttle (admitted pro hac vice)
        New York, NY 10005                                 Ada Fernandez Johnson (admitted pro hac vice)
        Telephone: (212) 907-0700                          801 Pennsylvania Ave. NW
        Fax: (212) 818-0477                                Washington, D.C. 20004
                                                           Telephone: (202) 383-8036
        Counsel for Plaintiffs in Case Nos. 17-cv-07625,   Fax: (202) 383-8118
        17-cv-07636, 18-cv-08595, 18-cv-15286
                                                           Counsel for J. Michael Pearson in Case Nos.
        STONE BONNER & ROCCO LLP                           15-cv-07658, 16-cv-05034, 16-cv-06127,
                                                           16-cv-06128, 16-cv-07212, 16-cv-07321,
        /s/ Patrick L. Rocco                               16-cv-07324, 16-cv-07328, 16-cv-07494,
        Patrick L. Rocco                                   16-cv-07496, 16-cv-07497, 17-cv-06365,
        James P. Bonner                                    17-cv-07625, 17-cv-07636, 17-cv-06513,
        447 Springfield Avenue, Second Floor               17-cv-07552, 17-cv-12088, 17-cv-12808,
        Summit, NJ 07901                                   17-cv-13488, 18-cv-00032, 18-cv-00089,
        Telephone: (908) 516-2045                          18-cv-00343, 18-cv-00383, 18-cv-00846,
        Facsimile: (908) 516-2049                          18-cv-00893, 18-cv-08595, 18-cv-12673, 18-cv-
                                                           15286
        Ralph M. Stone
        1700 Broadway 41st Floor                           MENZ BONNER KOMAR &
        New York, NY 10019                                 KOENIGSBERG LLP
        Telephone: (212) 239-4340
                                                           /s/ Patrick D. Bonner, Jr.
        Local Counsel for Plaintiffs in Case No.           Patrick D. Bonner, Jr.
        17-cv-06513                                        125 Half Mile Road, Suite 200
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 8 of 11 PageID: 13992




             September 30, 2019
             Page 8



                                                          Red Bank, NJ 07701
        DIETRICH SIBEN THORPE LLP                         Telephone: (732) 933-2757
                                                          Fax: (914) 997-4117
        Matthew P. Siben
        500 Australian Avenue South, Suite 637            Counsel for J. Michael Pearson in Case No.
        West Palm Beach, FL 33401                         18-cv-01223
        Telephone: (561) 820-4882
        Fax: (561) 820-4883                               CHIESA SHAHINIAN & GIANTOMASI PC

        David A. Thorpe                                   /s/ A. Ross Pearlson
        Shawn M. Hayes                                    A. Ross Pearlson
        9595 Wilshire Boulevard, Suite 900                One Boland Drive
        Beverly Hills, CA 90212                           West Orange, NJ 07052
        Telephone: (310) 300-8450                         Telephone: (973) 530-2100
        Facsimile: (310) 300-8041                         Fax: (973) 530-2300

        Counsel for Plaintiffs in Case No. 17-cv-06513    Local Counsel for PricewaterhouseCoopers LLP
                                                          in Case Nos. 15-cv-07658, 17-cv-06365,
        LITE DEPALMA GREENBERG, LLC                       17-cv-07625, 17-cv-07636, 18-cv-00032,
                                                          18-cv-08595, 18-cv-08705
        /s/ Bruce D. Greenberg
        Bruce D. Greenberg                                KING & SPALDING LLP
        570 Broad Street, Suite 1201
        Newark, NJ 07102                                  James J. Capra, Jr. (admitted pro hac vice)
        Telephone: (973) 623-3000                         James P. Cusick (admitted pro hac vice)
        Fax: (973) 623-0858                               Christina M. Conroy (admitted pro hac vice)
                                                          1185 Avenue of the Americas
        Local Counsel for Plaintiffs in Case No. 17-cv-   New York, NY 10036-4003
        12088                                             Telephone: (212) 556-2100
                                                          Fax: (212) 556-2222
        GRANT & EISENHOFER, P.A.
                                                          Kenneth Y. Turnbull (admitted pro hac vice)
        Jay W. Eisenhofer                                 1700 Pennsylvania Avenue, NW
        Daniel L. Berger                                  Washington, DC 20006-4707
        Caitlin M. Moyna                                  Telephone: (202) 737-0500
        Jonathan D. Park                                  Fax: (202) 626-3737
        485 Lexington Avenue
        New York, NY 10017                                Counsel for PricewaterhouseCoopers LLP in
        Telephone: (646) 722-8500                         Case Nos. 15-cv-07658, 17-cv-06365,
        Fax: (646) 722-8501                               17-cv-07625, 17-cv-07636, 18-cv-00032,
                                                          18-cv-08595, 18-cv-08705
        Counsel for Plaintiffs in Case No. 17-cv-12088
                                                          HARTMANN DOHERTY ROSA BERMAN &
                                                          BULBULIA, LLC
        COHEN MILSTEIN SELLERS & TOLL
        PLLC                                              /s/ Mark A. Berman
                                                          Mark A. Berman
        /s/ Michael B. Eisenkraft                         Robin D. Fineman
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 9 of 11 PageID: 13993




             September 30, 2019
             Page 9



        Michael B. Eisenkraft                            65 Route 4 East
        88 Pine Street 14th Floor                        River Edge, NJ 07661
        New York, NY 10005                               Telephone: (201) 441-9056
        Telephone: (212) 838-7797                        Fax: (201) 441-9435

        Steven J. Toll                                   Local Counsel for Deutsche Bank Securities, Inc.,
        Julie Goldsmith Reiser                           HSBC Securities (USA) Inc., Mitsubishi UFJ
        S. Douglas Bunch                                 Securities (USA), Inc., DNB Markets, Inc.,
        1100 New York Avenue, N.W. 5th Floor             Barclays Capital, Inc., Morgan Stanley & Co.
        Washington, D.C. 20005                           LLC, RBC Capital Markets, and SunTrust
        Telephone: (202) 408-4600                        Robinson Humphrey, Inc. in Case No.
                                                         15-cv-07658
        Counsel for Plaintiffs in Case No. 18-cv-00032
                                                         Local Counsel for Deutsche Bank Securities Inc.
        BRESSLER, AMERY & ROSS, P.C.                     and Barclays Capital Inc. in Case No.
                                                         18-cv-00032
        /s/ David J. Libowsky
        David J. Libowsky                                PAUL, WEISS, RIFKIND, WHARTON &
        325 Columbia Turnpike, Suite 301                 GARRISON LLP
        Florham Park, NJ 07932
        Telephone: (973) 514-1200                        Richard A. Rosen (admitted pro hac vice)
        Fax: (973) 514-1660                              1285 Avenue of the Americas
                                                         New York, NY 10019
        Local Counsel for Plaintiffs in Case Nos.        Telephone: (212) 373-3000
        18-cv-00343                                      Fax: (212) 757-3990

        LIEFF CABRASER HEIMANN &                         Counsel for Deutsche Bank Securities, Inc., HSBC
        BERNSTEIN, LLP                                   Securities (USA) Inc., Mitsubishi UFJ Securities
                                                         (USA), Inc., DNB Markets, Inc., Barclays Capital,
        Steven E. Fineman                                Inc., Morgan Stanley & Co. LLC, RBC Capital
        Daniel P. Chiplock                               Markets, and SunTrust Robinson Humphrey, Inc.
        Michael J. Miarmi                                in Case No. 15-cv-07658
        250 Hudson Street, 8th Floor
        New York, NY 10013                               Counsel for Deutsche Bank Securities Inc. and
        Telephone: (212) 355-9500                        Barclays Capital Inc. in Case No. 18-cv-00032
        Fax: (212) 355-9592
                                                         SCHULTE ROTH & ZABEL LLP
        Richard M. Heimann
        Bruce W. Leppla                                  /s/ Robert E. Griffin
        275 Battery Street, 29th Floor                   Robert E. Griffin
        San Francisco, CA 94111                          Barry A. Bohrer (admitted pro hac vice)
        Telephone: (415) 956-1000                        919 Third Avenue
        Fax: (415) 956-1008                              New York, NY 10022
                                                         Telephone: (212) 756-2000
        Sharon M. Lee                                    Fax: (212) 593-5955
        2101 Fourth Avenue, Suite 1900
        Seattle, WA 98121                                Counsel for Deborah Jorn in Case Nos.
        Telephone: (206) 739-9059                        15-cv-07658, 16-cv-05034, 16-cv-06127,
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 10 of 11 PageID: 13994




             September 30, 2019
             Page 10



                                                           16-cv-06128, 16-cv-07212, 17-cv-07552,
        Counsel for Plaintiffs in Case No. 18-cv-00343     17-cv-12088, 17-cv-12808, 17-cv-13488,
                                                           18-cv-00343, 18-cv-00383, 18-cv-00846
        SKOLOFF & WOLFE, P.C.
                                                           WINSTON & STRAWN LLP
        /s/ Jonathan W. Wolfe
        Jonathan W. Wolfe                                  /s/ Benjamin Sokoly
        293 Eisenhower Parkway                             Benjamin Sokoly
        Livingston, NJ 07039                               200 Park Avenue
        Telephone: (973) 992-0900                          New York, NY 10166
                                                           Telephone: (212) 294-6700
        Local Counsel for Plaintiffs in Case No.           Fax: (212) 294-4700
        18-cv-00383
                                                           Robert Y. Sperling (admitted pro hac vice)
        HUNG G. TA, ESQ. PLLC                              Joseph L. Motto (admitted pro hac vice)
                                                           35 West Wacker Drive
        /s/ Hung G. Ta                                     Chicago, Illinois 60601
        Hung G. Ta                                         Telephone: (312) 558-5600
        JooYun Kim
        Natalia D. Williams                                Counsel for Howard B. Schiller in Case Nos.
        250 Park Avenue, Seventh Floor                     15-cv-07658, 16-cv-05034, 16-cv-06127,
        New York, NY 10177                                 16-cv-06128, 16-cv-07212, 16-cv-07321,
        Telephone: (646) 453-7288                          16-cv-07324, 16-cv-07328, 16-cv-07494,
        Fax: (973) 994-1744                                16-cv-07496, 16-cv-07497, 17-cv-06365,
                                                           17-cv-07625, 17-cv-07636, 17-cv-06513,
        Counsel for Plaintiffs in Case Nos. 18-cv-00383,   17-cv-07552, 17-cv-12088, 17-cv-12808,
        18-cv-00846                                        17-cv-13488, 18-cv-00032, 18-cv-00089,
                                                           18-cv-00343, 18-cv-00846, 18-cv-00893,
        SAFIRSTEIN METCALF LLP                             18-cv-01223, 18-cv-08595, 18-cv-15286

        /s/ Peter Safirstein
        Peter Safirstein                                   ROBINSON MILLER LLC
        Elizabeth Metcalf
        1250 Broadway, 27th Floor                          /s/ Keith J. Miller
        New York, NY 10001                                 Keith J. Miller
        Telephone: (212) 201-2845                          Justin T. Quinn
                                                           110 Edison Place, Suite 302
        Counsel for Plaintiffs in Case No. 18-cv-00846     Newark, NJ 07102
                                                           Telephone: (973) 690-5400

        KYROS LAW, PC                                      Counsel for Howard B. Schiller in Case No. 18-
                                                           cv-00383
        Konstantine Kyros
        17 Miles Road                                      O’MELVENY MYERS LLP
        Hingham, MA 02043
        Telephone: (800) 934-2921                          /s/ Allen W. Burton
                                                           Allen W. Burton
        Counsel for Plaintiffs in Case No. 18-cv-00846     Jonathan Rosenberg (admitted pro hac vice)
Case 3:15-cv-07658-MAS-LHG Document 487 Filed 09/30/19 Page 11 of 11 PageID: 13995




             September 30, 2019
             Page 11



                                                         7 Times Square
        QUINN EMANUEL URQUHART &                         New York, NY 10036
        SULLIVAN, LLP                                    Telephone: (212) 326-2000
                                                         Fax: (212) 326-2061
        /s/ Robert S. Loigman
        Robert S. Loigman                                Counsel for ValueAct Capital Management L.P.,
        Rollo Baker                                      ValueAct Capital Master Fund, L.P., ValueAct
        Kathryn Bonacorsi                                Co-Invest Master Fund, L.P., VA Partners I, LLC,
        Jesse Bernstein                                  ValueAct Holdings, L.P., and Defendant Ubben in
        51 Madison Avenue, 22nd Floor                    Case No. 15-cv-07658
        New York, NY 10010
        Telephone: (212) 849-7000                        GIBBONS P.C.

                                                         /s/ Kate E. Janukowicz
        Counsel for Plaintiffs in Case No. 18-cv-08705
                                                         Kate E. Janukowicz
                                                         One Gateway Center
        CALCAGNI & KANEFSKY, LLP
                                                         Newark, NJ 07102
                                                         Telephone: (973) 596-4913
        /s/ Eric T. Kanefsky
        Eric T. Kanefsky
                                                         Local Counsel for ValueAct Capital Management
        Samuel S. Cornish
                                                         L.P., ValueAct Capital Master Fund, L.P.,
        One Newark Center
                                                         ValueAct Co-Invest Master Fund, L.P., VA
        1085 Raymond Blvd., 14th Floor
                                                         Partners I, LLC, ValueAct Holdings, L.P., and
        Newark, NJ 07102
                                                         Defendant Ubben in Case No. 15-cv-07658
        T: (862) 397-1796
                                                         BOCHETTO & LENTZ, P.C.
        Counsel for Plaintiffs in Case No. 18-cv-08705
                                                         /s/ Albert M. Belmont, III
        FERRARA LAW GROUP, P.C.
                                                         Gavin P. Lentz
                                                         Albert M. Belmont, III
        /s/ Ralph P. Ferrara
                                                         1524 Locust Street
        Ralph P. Ferrara
                                                         Philadelphia, PA 19102
        Aaron L. Peskin
                                                         (215) 735-3900
        50 W. State Street, Suite 1100
        Trenton, New Jersey 08608
                                                         Counsel for the Estate of Matthew Davenport in
        Telephone: (609) 571-3738
                                                         Case No. 16-cv-03087
        Counsel for Philidor Rx Services, LLC and
        Andrew Davenport in Case No. 16-cv-03087
